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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                             NO. MJ10-505

10                                 Plaintiff,

11          v.
                                                           DETENTION ORDER
12   PARMINDERPAL SINGH,
13
                                   Defendant.
14

15   Offense charged:
16          Count 1:       Conspiracy to Distribute Cocaine, in violation of 21 U.S.C. §§ 841(a)(1),
17                         841(b)(1)(A) and 846

18   Date of Detention Hearing: December 9, 2010
            The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and
19
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds:
20

21          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

22          1.      Pursuant to 18 U.S.C. § 3142(e), there is a rebuttable presumption that

23                  defendant is a flight risk and a danger to the community based on the nature of

24                  the pending charges. Application of the presumption is appropriate in this case.

25          2.      The evidence against the defendant, although the least important 18 U.S.C. §

26                  3142(g) detention factor, is strong.


     DETENTION ORDER
     18 U.S.C. § 3142(i)
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           3.    Defendant is a non-citizen and his ties to other countries and to this jurisdiction
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                 are unknown.
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           4.    Defendant’s arrest history includes acts of violence, including assaults.
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           5.    There are no conditions or combination of conditions other than detention that
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                 will reasonably assure the appearance of defendant as required or ensure the
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                 safety of the community.
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           IT IS THEREFORE ORDERED:
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           (1)   Defendant shall be detained and shall be committed to the custody of the
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                 Attorney General for confinement in a correction facility separate, to the extent
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                 practicable, from persons awaiting or serving sentences or being held in custody
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                 pending appeal;
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           (2)   Defendant shall be afforded reasonable opportunity for private consultation with
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                 counsel;
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           (3)   On order of a court of the United States or on request of an attorney for the
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                 government, the person in charge of the corrections facility in which defendant
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                 is confined shall deliver the defendant to a United States Marshal for the
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                 purpose of an appearance in connection with a court proceeding; and
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           (4)   The Clerk shall direct copies of this Order to counsel for the United States, to
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                 counsel for the defendant, to the United States Marshal, and to the United States
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                 Pretrial Services Officer.
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           DATED this 9th day of December, 2010.


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                                                JAMES P. DONOHUE
24                                              United States Magistrate Judge
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     DETENTION ORDER
     18 U.S.C. § 3142(i)
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